     Case 3:17-cv-00939-WHA Document 2327 Filed 12/04/17 Page 1 of 3




 1 QUINN EMANUEL URQUHART & SULLIVAN, LLP
     Charles K. Verhoeven (Bar No. 170151)
 2   charlesverhoeven@quinnemanuel.com
     David A. Perlson (Bar No. 209502)
 3   davidperlson@quinnemanuel.com
     Melissa Baily (Bar No. 237649)
 4   melissabaily@quinnemanuel.com
     John Neukom (Bar No. 275887)
 5   johnneukom@quinnemanuel.com
     Jordan Jaffe (Bar No. 254886)
 6   jordanjaffe@quinnemanuel.com
   50 California Street, 22nd Floor
 7 San Francisco, California 94111-4788
   Telephone:     (415) 875-6600
 8 Facsimile:     (415) 875-6700

 9 Attorneys for WAYMO LLC

10                              UNITED STATES DISTRICT COURT

11             NORTHERN DISTRICT OF CALIFORNIA, SAN FRANCISCO DIVISION

12 WAYMO LLC,                                 CASE NO. 3:17-cv-00939-WHA
                                              PLAINTIFF WAYMO LLC’S
13                Plaintiff,                  ADMINISTRATIVE MOTION TO FILE
                                              UNDER SEAL ITS RESPONSE TO
14       vs.                                  COURT INQUIRY RE UBER’S FAILURE
                                              TO PRODUCE JACOBS LETTER AND
15 UBER TECHNOLOGIES, INC.;                   EMAIL
   OTTOMOTTO LLC; OTTO TRUCKING
16 LLC,
17                Defendants.

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                                                               CASE NO. 3:17-cv-00939-WHA
                                                     WAYMO’S ADMINISTRATIVE MOTION TO SEAL
          Case 3:17-cv-00939-WHA Document 2327 Filed 12/04/17 Page 2 of 3




 1            Pursuant to Civil L.R. 7-11 and 79-5, Plaintiff Waymo LLC (“Waymo”) respectfully requests

 2 to file under seal information in its Response To Court Inquiry Regarding Uber’s Failure To Produce
 3 Jacobs Letter And Email (“Waymo's Response ”) and exhibits thereto. Specifically, Waymo requests
 4 an order granting leave to file under seal the portions of the documents as listed below:
 5                         Document                       Portions to Be Filed Designating Party
                                                              Under Seal
 6         Waymo’s Response                               Highlighted in blue  Defendants
 7         Exhibit 1 of Waymo’s Response                  Highlighted in blue     Defendants (blue);
                                                          and green               Waymo (green)
 8         Exhibit 2 of Waymo’s Response                  Highlighted in green    Waymo
 9         Exhibit 5 of Waymo’s Response                  Entire document         Waymo
10         Exhibit 7 of Waymo’s Response                  Entire document         Waymo &
                                                                                  Defendants
11         Exhibit 8 of Waymo’s Response                  Entire document         Defendants
12
13
     I.       LEGAL STANDARD
14            Civil Local Rule 79-5 requires that a party seeking sealing “establish[] that the document, or
15 portions thereof, are privileged, protectable as a trade secret or otherwise entitled to protection under
16 the law” (i.e., is “sealable”). Civil L.R. 79-5(b). The sealing request must also “be narrowly tailored
17 to seek sealing only of sealable material.” Id.
18
     II.      WAYMO’S SUPPLEMENTAL BRIEF AND ACCOMPANYING EXHIBITS
19            Waymo seeks to seal the portions of Waymo’s Response and accompanying Exhibits 1, 2, 5
20 and 7 because these documents contain or refer to Waymo’s trade secret and confidential business
21 information. See Declaration of Andrea Pallios Roberts ("Roberts Decl." ¶ 3.) Specifically, portions
22 of Waymo’s Response Regarding Jacobs Letter, and Exhibit 5 and 7 identified by Waymo in the table
23 above contain key terms and other information related to Waymo’s trade secrets and confidential
24 business information. Id. The documents and highlighted portions listed above describe information
25 relating to the technical specifications and designs of Waymo’s trade secrets. Id. These trade secrets
26 are maintained as secret by Waymo (Dkt. 25-47) and are valuable as trade secrets to Waymo’s
27 business (Dkt. 25-31). Id. The public disclosure of this information would give Waymo’s competitors
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                                                       -2-                    CASE NO. 3:17-cv-00939-WHA
                                                                    WAYMO’S ADMINISTRATIVE MOTION TO SEAL
      Case 3:17-cv-00939-WHA Document 2327 Filed 12/04/17 Page 3 of 3




 1 access to information relating to the functionality of Waymo’s autonomous vehicle system. Id. The

 2 documents and highlighted portions listed above also divulge confidential business information. Id.
 3 If such If such information were made public, Waymo’s competitive standing would be significantly
 4 harmed. Id. Waymo’s request to seal is narrowly tailored to only the confidential information. Id.
 5 III.    DEFENDANTS’ CONFIDENTIAL INFORMATION

 6         Waymo seeks to seal identified portions of Waymo's Response and accompanying Exhibits 1,
 7 7, and 8 because Defendants have designated the information confidential and/or highly confidential.
 8 Roberts Decl. ¶ 4. Waymo takes no position on the merits of sealing the designated material, and
 9 expects Defendants to file one or more declarations in accordance with the Local Rules. Roberts
10 Decl. ¶ 5.
11 IV.     CONCLUSION
12         In compliance with Civil Local Rule 79-5(d), redacted and unredacted versions of the above
13 listed documents accompany this Administrative Motion. For the foregoing reasons, Waymo
14 respectfully requests that the Court grant Waymo’s Administrative Motion.
15
16 DATED: December 4, 2017                     QUINN EMANUEL URQUHART & SULLIVAN,
                                               LLP
17
18                                               By /s/ Charles K. Verhoeven
                                                    Charles K. Verhoeven
19                                                  Attorney for WAYMO LLC
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                                                    -3-                   CASE NO. 3:17-cv-00939-WHA
                                                                WAYMO’S ADMINISTRATIVE MOTION TO SEAL
